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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00869
                                                       Honorable Robert W. Gettleman
Thomas Osadzinski
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 7, 2022:


        MINUTE entry before the Honorable Robert W. Gettleman as to Thomas
Osadzinski: At the government's request and by agreement, the briefing schedule set forth
on 3/23/2022 [169] is modified as follows: Government's response due by 4/28/2022;
Defendant reply due 5/26/2022. The court will set a hearing after all briefs have been
filed. Mailed notice (cn).




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